Case: 5:21-mj-01104-KBB Doc #: 1-1 Filed: 03/19/21 1of1. PagelD #: 2

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Columbia

Staima- \\o4

 

United States of America )
V. ) Case: 1:21-mj-00325
) Assigned To : Meriweather, Robin M.
ETHAN C, SEITZ ) Assign. Date : 3/18/2021
DOB: 7/4/1989 ) Description: Complaint w/ Arrest Warrant
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __, the defendant(s) violated:

Cade Section Offense Description

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,

18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,

40 U.S.C, § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,

40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

This criminal complaint is based on these facts:

See attached statement of facts.

IN Continued on the attached sheet.

  

Complainant’s signature

   

John Minichello, Special Agent
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. 2021.03.18

he feito — an
Date: 3/18/2021 oe ; 19:12:30 -04'00

 

Judge’s signature

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge _

Printed name and title
